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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  PRINITA FINLEY,                                      )
  Individually and on behalf of all others             )
  similarly situated,                                  )       Case No.
                                                       )
                  Plaintiff                            )
                                                       )       CLASS ACTION
  v.                                                   )
                                                       )       DEMAND FOR JURY TRIAL
  PERMANENT GENERAL ASSURANCE                          )
  CORP. and NATION SAFE DRIVERS                        )
  SERVICES, INC.,                                      )
                                                       )
                                                       )
                  Defendants.                          )

                                             COMPLAINT

          COMES NOW, Plaintiff Prinita Finley (“Plaintiff”), individually and on behalf of all others

  similarly situated, by and through her attorneys, and files this Class Action Complaint against

  Defendant Permanent General Assurance Corp. (“Permanent General”) and Nation Safe Drivers

  Services, Inc. (“NSD”) (collectively referred to herein as “Defendants”). In support thereof,

  Plaintiff states the following:

                                         INTRODUCTION

          1.      This action challenges an improper course of conduct whereby Permanent General

  automatically and unilaterally assesses non-standard insureds for a highly profitable “motor club”

  membership. Despite seeking and requesting only certain coverages for her automobile, Plaintiff

  was automatically assessed by Permanent General for a “motor club” membership with NSD that

  is completely bogus, yet extremely profitable to Permanent General and NSD. Permanent General

  added $10 per month to Plaintiff’s invoices for the bogus “motor club” membership. That amount

  was automatically deducted from Plaintiff’s bank account each month. Upon information and



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  belief, Permanent General receives at a minimum 70% of this fee with NSD – the company

  purportedly bearing the risk – receiving 30%. Defendants have been unjustly enriched by retaining

  this excessive monthly fee.

         2.      Moreover, while Defendant NSD purportedly had a contract with Plaintiff (which

  Plaintiff has no recollection of signing and therefore, disputes its validity), that contract was

  limited to a six-month period coinciding with the first six months of her automobile insurance with

  Permanent General. When Plaintiff renewed her insurance with Permanent General, the renewal

  declarations pages said absolutely nothing about a “motor club” with NSD.            Yet, Plaintiff

  continued to be charged the unauthorized $10 “motor club” fee for an additional six months, which

  NSD wrongfully retained for it and Permanent General’s benefit

         3.      Permanent General’s automatic and unilateral practice of deducting unauthorized

  charges and fees for a bogus, non-existent “motor club” on automobile policies is conducted

  merely to obtain additional profits for Defendants at the expense of an unknowing and targeted

  class of Florida consumers. Permanent General’s conduct is particularly appalling given the

  vulnerable nature of the non-standard insureds who are the known target of Permanent General’s

  practices. Permanent General’s automatic inclusion and assessment for the bogus “motor club”

  membership was not a one-time, isolated occurrence. The conduct challenged in this action is not

  the product of a “rogue agent” or random event, but rather stems from standard practices and form

  documents devised by Permanent General and NSD’s corporate offices. This class action, based

  upon these standard practices and documents, seeks to provide relief to Florida citizens victimized

  by these improper business practices.




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                                              PARTIES

         4.      Plaintiff Prinita Finley (“Plaintiff”) is an adult resident citizen of Cape Canaveral,

  Florida. Plaintiff purchased a non-standard automobile policy underwritten by Permanent General,

  Policy Number FL3822370. Plaintiff’s initial contract period was from February 5, 2018 to

  August 5, 2018, which she renewed for one six-month term covering August 5, 2018 to February

  5, 2019. Permanent General was involved in the sale, servicing, billing, and payment collection

  for this policy.   When Plaintiff applied for insurance with Permanent General, she was

  automatically enrolled in a 24-Hour Emergency Road Service with NSD for a six-month period.

  Plaintiff was improperly assessed and paid the fictitious “motor club” fees challenged herein for

  twelve months.

         5.      Defendant Permanent General Assurance Corporation is a corporation organized

  under the laws of Wisconsin with its principal place of business at 2636 Elm Hill Pike, Nashville,

  TN 37214 and regularly conducts business in this district. It may be served via its registered agent,

  Chief Financial Officer, at 200 E. Gaines St., Tallahassee, FL 32399-0000. Permanent General

  Assurance Corporation markets, sells, underwrites, and services non-standard automobile

  insurance throughout Florida, including Plaintiff’s automobile insurance as described in this

  action. Plaintiff and class members’ policies are contracts with Permanent General Assurance

  Corporation. Defendant Permanent General is the company that assessed the improper “motor

  club” fees challenged in this action for its benefit and the benefit of NSD.

         6.      Defendant Nation Safe Drivers Services, Inc. (“NSD”) is a corporation organized

  under the laws of Florida with its principal place of business at 800 W. Yamato Road, Suite 100,

  Boca Raton, Florida 33431. It may be served via its registered agent, NRAI Services, Inc., at 1200




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  South Pine Island Road, Plantation, FL 33324. Defendant NSD services the “motor club” that

  Permanent General’s insureds were automatically charged to be a member of.

                                   JURISDICTION AND VENUE

          7.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 because at least

  one member of the class is a citizen of a state different from at least one Defendant; there are more

  than one hundred members of the class; and the amount in controversy exceeds $5,000,000

  exclusive of interest and costs. All other factual conditions precedent necessary to empower this

  Court with subject matter and personal jurisdiction have been satisfied.

          8.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the Defendants

  are subject to personal jurisdiction in this district and a substantial portion of Defendants’ conduct

  that forms the basis of this action occurred in Florida, including within the boundaries of this

  district.

          9.     This Court has personal jurisdiction over the Defendants because Plaintiff’s claims

  arise out of, among other things, the Defendants conducting, engaging in, and/or carrying on

  business in Florida and collecting or profiting from the unauthorized fees from Permanent General

  insureds in Florida. Defendants also purposefully availed themselves of the opportunity of

  conducting activities in the State of Florida by marketing their products within the State and

  intentionally developing relationships with customers within the State.

                                    FACTUAL BACKGROUND

  Permanent General and “Non-Standard” Auto Insurance.

          10.    Defendant Permanent General underwrites and provides non-standard automobile

  insurance to customers throughout the United States, including Florida. Upon information and




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  belief, a majority of Permanent General’s sales are made to customers either online or

  telephonically.

         11.        Since its inception, Permanent General’s business model has been to offer as its

  core product non-standard automobile insurance of minimum limits to comply with state financial

  responsibility laws. Non-standard automobile insurance is typically procured by those consumers

  who, due to financial constraints, troubled credit histories, or otherwise, are unable to obtain or

  afford coverage through standard, more commonly-known carriers.

         12.        In late 2012, American Family Insurance acquired PGC Holdings Corp.

  (“Permanent General Companies”) and its subsidiaries, including non-standard auto insurers

  Permanent General and The General, in a $239 million transaction. Following this acquisition,

  Permanent General began a widespread, comprehensive, and aggressive marketing strategy to

  attract a large customer share of the non-standard auto insurance market. These widespread and

  aggressive marketing efforts included, among other things, high profile television, digital, and

  billboard advertisements containing visible and recognizable marketing slogans, mascots, jingles,

  and celebrity endorsements.         For example, Permanent General’s television commercials

  advertising their non-standard automobile insurance include a cartoon personality as well as

  several widely recognized celebrities.

         13.        As part of their widespread and aggressive marketing efforts to attract customers of

  non-standard automobile insurance, Permanent General’s radio, internet, television, and billboard

  advertising emphasizes the availability of low-cost, state-minimum automobile liability coverage

  with a low, affordable down payment and the availability of convenient monthly premium

  payments in order to meet the consumer’s budgeting needs.




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         14.     Beginning on a date currently unknown to Plaintiff but, going back as far as at least

  February 2018, Defendants Permanent General and NSD, implemented a wide-spread deceptive

  scheme to improperly obtain additional revenues from certain targeted and vulnerable consumers

  in Florida. These practices were deceptively and intentionally conducted to mislead consumers

  into paying an inflated monthly fee for membership in a “motor club” without an understanding

  of said “motor club” so that members would not take advantage of any of its purported benefits;

  thereby creating a windfall in profits for Defendants Permanent General and NSD.

         15.     Specifically, at least by February 2018, Defendants Permanent General and NSD

  began the wide-spread and systematic practice of automatically assessing the improper “motor

  club” fees. Consumers who purchase or renew Permanent General automobile insurance are

  automatically and deceptively deducted additional fees for an unrequested “motor club”

  membership. This automatic and fraudulent practice by Permanent General is conducted merely

  to obtain additional profits for it and NSD at the expense of a vulnerable and targeted class of

  Florida consumers. These deceptive practices, which are challenged in this action, are described

  in more detail below.

         16.     Upon information and belief, Permanent General receives at a minimum 70% of

  the fee charged for the “motor club.” Rather than contract through a third-party, Permanent

  General could offer the same purported benefits of the “motor club,” i.e. rental reimbursement and

  towing and labor coverage, at a much lower cost to the consumer. To do so, however, would

  require Permanent General to take on the risk of the coverage. Therefore, Permanent General has

  devised the “motor club” fee scheme with NSD in order to unjustly reap the profits of the “motor

  club” without taking on any of the risk to the detriment of consumers, such as Plaintiff.




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  Permanent General’s improper “motor club” scheme.

         17.     In recent years, there has been a growing trend in the State of Florida among “sub-

  prime” lenders, “non-standard” insurance providers, check cashing or “pay day” loan servicers,

  and “industrial loan” providers: these service providers have begun the common practice of

  requiring or otherwise involuntarily causing their customers, most of whom are of limited

  education and low socio-economic status, to obtain and pay premiums for coverage into a

  purported “motor club” that is associated or affiliated with the service provider. In most instances,

  the purported “motor club” is a worthless fiction that is of no value to the consumer at all. Most

  consumers, like Plaintiff in this action, are unaware of the existence of this “motor club” coverage,

  or of any of its purported benefits, for which they are being assessed. The creation, establishment,

  and forced transactions with these purported “motor clubs” has resulted in the realization of

  substantial profits to providers of “non-standard” insurance or “sub-prime” loans in Florida and

  the third-party providers of these “motor clubs” at the expense of targeted Florida consumers.

         18.     As described herein, the entire purpose and intent in collecting these fees via

  purported “motor clubs” is to increase profits for the insurer and “motor club” provider while

  otherwise avoiding or evading applicable Florida law and regulation governing the sale of

  insurance. Stated otherwise, these purported “motor club” fees unilaterally deducted by the

  provider are nothing more than a ruse to collect additional – yet unapproved – premiums from

  consumers under a guise of legitimacy, while avoiding compliance with Florida law regulating the

  sale of insurance in this state. These fees also allow Permanent General to receive substantial

  profits without taking on any of the risk associated with coverage.

         19.     This action challenges Permanent General’s ongoing and systematic practice of

  unilaterally and deceptively deducting these fees from insureds for a bogus “motor club” product



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  in order to increase Permanent General and NSD’s profits. Plaintiff in this action, like most of

  Permanent General’s customers, was unaware of any “motor club” benefits or that she had signed

  up for a membership in a “motor club.”

         20.     Specifically, Permanent General routinely assesses its insureds an additional fee for

  purported “motor club” coverage which is not requested by the insured, and which is not

  adequately disclosed to the consumer. For example, while Plaintiff’s application indicates that it

  “includes the purchase of the following product(s) provided by Nation Safe Drivers (NSD): Motor

  Club”, it is not described anywhere on the declarations pages to Plaintiff’s policy.

         21.     More importantly, Plaintiff was automatically enrolled in NSD’s “Motor Club”

  despite the fact that she declined, or was not offered, “Towing and Labor” and “Rental

  Reimbursement” coverage with Permanent General. Upon information and belief, her premiums

  would have been lower had she purchased or been offered coverage similar to the purported

  benefits of the “motor club” directly through Permanent General rather than paying an excessive

  fee that was designed to profit not only Permanent General but also NSD.

         22.     Most of Permanent General’s customers, like Plaintiff in this action, never request

  any purported “motor club” coverage for which they are assessed, and most consumers, like

  Plaintiff in this action, are unaware of what, if any, benefits are available through this purported

  “motor club.” This is intentional so that consumers do not take advantage of the purported benefits,

  eliminating any financial risk to and creating a pure profit for NSD and Permanent General.

         23.     As alleged below, the computer programs designed and utilized by Permanent

  General to provide customer quotes, sales and billing are, upon information and belief, rigged to

  automatically default into placing “motor club” coverage on customers’ accounts and deduct fees




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  for “motor club” although customers do not ask for nor are they aware that such coverage is placed

  and that additional fees will be unilaterally deducted each month for the “motor club” membership.

         24.     As mentioned above, Permanent General’s marketing and business model are

  designed and intended to encourage its target market to seek a quote for “non-standard” automobile

  insurance coverage and to ultimately complete an insurance transaction. By design, however, this

  is not what the prospective insured receives when he or she obtains an insurance quote from

  Permanent General and purchases a “non-standard” automobile policy underwritten by Permanent

  General.

         25.     Although Permanent General knows that its targeted customers are cash-strapped

  and typically seek only minimum-limits automobile insurance sufficient to comply with state law,

  Permanent General engages in the systematic and widespread practice in Florida of automatically

  – without request from the consumer – including the highly profitable yet bogus “motor club” in

  the “non-standard” insurance quote provided to the consumer and in the minimum-limits

  automobile policy purchased by the consumer. In other words, a consumer who requests a “non-

  standard” auto insurance quote and policy from Permanent General will not receive a quote and

  policy for what he or she requested, but will instead receive a quote that also includes a worthless

  “motor club” product that is not clearly disclosed. This is despite the fact that consumers often

  decline, or would decline if offered by Permanent General, the very benefits that are purportedly

  provided by the “motor club,” such as towing and labor or rental reimbursement when they apply

  for a policy with Permanent General. Upon information and belief, executive management at

  Permanent General’s home office has intentionally programmed the centralized computer

  programs to automatically default to include a “motor club” product in every quote given and

  policy issued in Florida. Other coverages, including coverages which are encouraged by the



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   legislature such as UM and med-pay, are not automatically defaulted to by Permanent General in

   this fashion.

          26.      According to the purported contract between NSD and Plaintiff (which Plaintiff has

   no recollection of and therefore, disputes the validity of), members of the “motor club” only have

   thirty days to cancel in order to get any refund and avoid paying the full amount of the

   “membership.” After that, they can only cancel if they pay a cancellation fee of $50.00 and the

   amount of claims already paid during their membership term. Therefore, unlike ordinary insurance

   where the insured receives a refund of unpaid premiums, members of the “motor club” are

   effectively locked in after thirty days.

          27.      Another clear example of the deceptive and fraudulent nature of the “motor club”

   and how it is assessed is in the renewal of insureds’ policies with Permanent General. When

   Plaintiff renewed her policy with Permanent General for another six-month period (August 5, 2018

   to February 5, 2019), she received declarations pages that made no mention of the “motor club”

   product or any fees for the “motor club.” See Renewal Declarations Pages, attached hereto as

   Exhibit A. When Plaintiff renewed her policy, she did not enter into an agreement with NSD to

   renew any purported “motor club” benefits. Consequently, neither NSD nor Permanent General

   were authorized to collect or receive the “motor club” fee. Yet, the fees for the “motor club”

   coverage continued to be deducted each month. Plaintiff’s renewal experience was not unique

   because, upon information and belief, Permanent General and NSD continue to automatically

   collect unauthorized “motor club” fees for the duration of an insured’s coverage with Permanent

   General.

          28.      The “motor club” that Permanent General unilaterally and deceptively places on

   each policy and deducts a deceptive fee for is, upon information and belief, utterly worthless to



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   the consumer. To the extent any benefits are provided to the “motor club member,” they are

   minimal in comparison to the excessive monthly fee that is automatically charged to Permanent

   General’s insureds.

          29.     With no risk assumed by Permanent General, very little, if any, risk assumed by

   NSD, and no knowledge of its existence by the customer, the “motor club” membership is a

   significant revenue maker for Permanent General and NSD, yet utterly worthless to the consumer.

          30.     Permanent General and NSD’s conduct is not the product of a “rogue agent” or

   isolated occurrence, but rather part of a systematic and fraudulent scheme created, implemented,

   and overseen by Permanent General and NSD’s corporate management. Permanent General’s

   automatic and deceptive practice of charging and collecting “motor club” fees on automobile

   policies sold by Permanent General is conducted merely to obtain additional profits for Defendants

   at the expense of an unknowing and targeted class of Florida consumers. Unfortunately, this

   improper practice of automatically enrolling customers into a questionable “motor club”

   membership and unilaterally deducting fees for “motor club” from monthly premium payments

   without proper consent or disclosure is rampant among certain issuers of “non-standard” insurance,

   whose insureds are often less educated and of lower socio-economic status. This conduct, like the

   conduct of Permanent General, is widespread in the “non-standard insurance” industry.

   Plaintiff was a victim of Permanent General and NSD’s deceptive practices.

          31.     Plaintiff was a victim of the improper practices described herein. Plaintiff sought

   non-standard automobile coverage for her vehicle. Plaintiff contacted Permanent General for a

   quote for coverage on her vehicle. As stated, Permanent General’s system is intentionally rigged

   to include additional costs for the “motor club” product. Plaintiff did not request any “motor club”

   product nor did she understand that she was a member in a “motor club”; therefore, like many



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   consumers, she never sought any of the purported “benefits” offered by the “motor club” (as is

   Defendants’ intent). After completing the application, Plaintiff received her policy declaration

   pages, which made no mention of the “motor club.”

          32.     Plaintiff’s initial contract period with Permanent General was from February 5,

   2018 to August 5, 2018, which she renewed for one six-month term covering August 5, 2018 to

   February 5, 2019. Plaintiff has no recollection of electronically signing a document with NSD,

   but a one-page document exists with an electronic signature purporting to be Plaintiff’s. Plaintiff

   disputes the validity of this agreement. That document states that it is limited to a “contract period”

   of February 5, 2018 to August 5, 2018. There is no document suggesting that NSD was authorized

   to renew Plaintiff’s “motor club” benefits (to the extent any benefits existed in the first place).

          33.     Despite the fact that Plaintiff only requested Permanent General automobile

   insurance coverage and declined, or was not offered, coverage for towing and labor and rental

   reimbursement, Permanent General nonetheless unilaterally deducted a fee from each of Plaintiff’s

   monthly premium payments for a purported “motor club” membership with NSD, a third-party.

   Plaintiff did not know, had no reason to know, and could not know that Permanent General and

   NSD were profiting off of this “motor club” fee at Plaintiff’s expense or that the “motor club”

   offered little to no benefits in comparison to the cost of the membership. Permanent General and

   NSD collected these additional fees through their deceptive and improper conduct and were

   unjustly enriched by the receipt of these fees.

          34.     The purported “motor club” membership with NSD that Permanent General

   unilaterally assessed against Plaintiff is, upon information, a non-existent fiction. The purported

   “motor club” with NSD that Permanent General assessed Plaintiff for is a complete sham, nothing




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   more than an illegitimate revenue generator for Defendants, and a means of funneling additional

   premium and revenue back to Defendants while evading and violating applicable Florida law.

           35.     Additionally, when Plaintiff renewed her non-standard automobile insurance with

   Permanent General, Plaintiff did not sign any documentation renewing a membership in NSD’s

   purported “motor club.” Yet, Plaintiff continued to be charged the “motor club” fee on her monthly

   invoices with Permanent General. Thus, to the extent any benefits did exist with the “motor club,”

   Plaintiff would not have been entitled to receive them after her Permanent General insurance

   renewed despite continuing to pay the fee. At least after August 5, 2018, NSD had no contractual

   right to receive any payments for membership in its “motor club.”

           36.     Defendant Permanent General improperly and deceptively charged and collected

   from Plaintiff excessive fees for NSD’s “motor club.” As stated, Plaintiff’s assessment and

   payment for these additional charges and products was not a one-time, isolated occurrence. To the

   contrary, it was a result of a well-designed business practice implemented by Permanent General

   and NSD to obtain additional profits at the expense of an unsuspecting segment of consumers in

   Florida. As stated, the computer systems and programs utilized by Permanent General in quoting,

   selling and processing “non-standard” automobile insurance in Florida are intentionally rigged in

   such a manner so as to automatically or more easily perpetrate the improper business practices

   described herein. Permanent General automatically deducted this fee in order to reap substantial

   risk-free profits.

                                 CLASS ACTION ALLEGATIONS

           37.     Pursuant to FED. R. CIV. P. 23, Plaintiff respectfully seeks certification of the

   following class:

           All Florida citizens residing in the State of Florida, who, within five (5) years of
           the filing of Plaintiff’s action, purchased automobile insurance underwritten by

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          Permanent General Assurance Corp. and were assessed and paid premium amounts
          for a “motor club” product with Nation Safe Drivers Services, Inc.

          38.        Excluded from the proposed class are Defendants, any of Defendants’ affiliated

   corporations or agents, any entity in which Defendants have a controlling interest, and any agents,

   employees, officers, and/or directors of Defendants or any other such entities and its

   representatives, heirs, successors, and/or assigns.

          39.        Numerosity. The class is so numerous that it would be impracticable to join all

   affected class members in a single action.

          40.        Existence and Predominance of Common Questions of Law and Fact. There

   are common questions of law and fact common and of general interest to the class. These common

   questions of law and fact predominate over any questions affecting only individual members of

   the class. Said common questions include, but are not limited to, the following:

                a.      Whether Defendants engaged in a wide-spread and systematic practice of

                        deceiving Permanent General’s insureds by assessing, collecting, and/or

                        profiting from automatic fees for a fictitious “motor club” membership;

                b.      Whether Defendants have been unjustly enriched by virtue of the deduction of

                        excessive fees for “motor club” membership that are automatically included in

                        the insurance application and renewal of insurance with Permanent General;

                c.      Whether the systems or programs used by Permanent General or on its behalf

                        are intentionally rigged to automatically include and assess “motor club”

                        memberships with NSD in every insurance transaction, including renewals;

                d.      Whether Defendant NSD violated FLA. STAT. § 501.201, et seq. (“FDUTPA”);

                        and




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                  e.      Whether Plaintiff and class members are entitled to class relief as requested

                          herein.

            41.        Typicality. The claims of the named Plaintiff are typical of the claims of the class.

   The claims arise out of the same standard form improper conduct perpetrated on members of the

   class.

            42.        Adequate Representation. The Plaintiff will fairly and adequately protect the

   interests of the members of the class and has no interest antagonistic to those of other class

   members. Plaintiff has retained class counsel competent to prosecute class actions, and is

   financially able to represent the class.

            43.        Superiority. The class action is superior to other available methods for the fair and

   efficient adjudication of this controversy since individual joinder of all members of the class is

   impracticable. The interest of judicial economy strongly favors adjudicating the claims as a class

   action rather than on an individual basis because the amount of any individual’s damages are too

   small to make it practicable to bring individual lawsuits.

            44.        Class action treatment is proper and this action should be maintained as a class

   action pursuant to FED. R. CIV. P. 23 because questions of law and fact predominate over any

   questions affecting only individual members, and a class action is superior to other available

   methods for the fair and efficient adjudication of the controversy.

                                                   COUNT I
                                           UNJUST ENRICHMENT
                                           (against both Defendants)

            45.        Plaintiff adopts and incorporates all previous allegations in full.

            46.        Defendant Permanent General and NSD knowingly received money from Plaintiff

   and each member of the putative class through the charging and collection of the “motor club” fee



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   as described herein. Both Permanent General and NSD derived substantial economic gains by

   virtue of Permanent General’s automatic deduction of a $10 “motor club” fee from Plaintiff and

   putative class members each month. Defendants knew that Plaintiff and putative class members

   had little understanding, if any, of the purported benefits of the “motor club” membership, and

   thereby, eliminated any risk and created a windfall in profits for themselves.

          47.     Under the circumstances outlined herein, Defendants have been unjustly enriched

   by virtue of the improper business practices described herein. It would be inequitable and unjust

   for Defendants to retain such ill-gotten gains, which Defendants have received as a result of their

   misconduct. Accordingly, this Court should impose a constructive trust on those monies by which

   Defendants or their affiliates have been unjustly enriched as a result of the improper practices

   described herein.

                                  COUNT II
    VIOLATION OF FLORIDA’S DECEPTIVE AND UNFAIR TRADE PRACTICES ACT
                           (against Defendant NSD)

          48.     Plaintiff adopts and incorporates all previous allegations in full.

          49.     Florida’s Deceptive and Unfair Trade Practices Act, FLA. STAT. § 501.201, et seq.

   (“FDUTPA”), prohibits “unfair methods of competition, unconscionable acts or practices, and

   unfair or deceptive acts or practices in the conduct of any trade or commerce.”

          50.     The stated purpose of FDUTPA is to “protect the consuming public and legitimate

   business enterprises from those who engage in unfair methods of competition, or unconscionable,

   deceptive, or unfair acts or practices in the conduct of any trade or commerce.” F LA. STAT. §

   501.202.




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          51.        NSD is not regulated under the laws of The Office of Insurance Regulation of the

   Financial Services Commission and does not do business in the State of Florida as an insurance

   company.

          52.        Plaintiff and each member of the putative class, as “consumers” under FDUTPA

   (FLA. STAT. § 501.203(7)), have been harmed by NSD’s unconscionable, deceptive, and unfair

   acts and practices in the collection of and profiting from the “motor club” fee. NSD characterizes

   the fee as a legitimate charge which is designed to provide membership in its “motor club.” In

   truth, the fee is a sham that provides no real benefits, or at least not any benefits comparable to the

   amount charged to unwitting customers, such as Plaintiff.

          53.        Defendant NSD’s deceptive and unfair practices directed toward Plaintiff and

   putative class members include, but are not limited to:

                a.      Profiting from the “motor club” fee without incurring any risk;

                b.      Failing to adequately inform consumers about the purported benefits available

                        under NSD’s “motor club” with the intention to prevent consumers from filing

                        claims under the purported membership;

                c.      Continuing to collect amounts for and profit from a “motor club” membership

                        without the authorization of Plaintiff and putative class members when no such

                        membership exists; and

                d.      Locking consumers into the “motor club” membership.

          54.        Defendant NSD’s deceptive practices as set out herein were likely to mislead

      reasonable consumers under the circumstances.

          55.        As a result of the deceptive and unfair practices described above, Plaintiff and each

      putative member of the class paid the improper “motor club” fee to their detriment.



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           56.        Plaintiff, on behalf of herself and each member of the putative class, demands trial

       by jury and all remedies and damages available to her, including repayment of all “motor club”

       fees, a declaration that NSD’s practices described above are deceptive or unfair trade practices

       under the Florida Deceptive and Unfair Trade Practices Act, restitution, interest, and the

       attorneys’ fees and costs incurred in bringing this action, pursuant to F LA. STAT. § 501.201.

                                           PRAYER FOR RELIEF

           WHEREFORE, Plaintiff prays for the following relief:

                 a.      that this Court certify this action as a class action, and that the Court find and

                         conclude that Plaintiff herein is an appropriate representative for the Class;

                 b.      that this Court impose a constructive trust on those monies by which Defendants

                         or their affiliates have been unjustly enriched as a result of the improper

                         practices described herein;

                 c.      that judgment be entered against Defendants in such amount as will fully and

                         adequately compensate Plaintiff and the other class members;

                 d.      that a declaration be entered declaring that NSD’s practices as described above

                         are deceptive or unfair trade practices under the Florida Deceptive and Unfair

                         Trade Practices Act;

                 e.      that Plaintiff have and recover all interest, attorney’s fees and court costs; and

                 f.      that this Court grant such other and further relief as it deems just and proper.

                                       DEMAND FOR JURY TRIAL

   Plaintiff hereby requests a trial by jury of all issues so triable.




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   Dated: October 27, 2020              /s/ J. Matthew Stephens
                                        J. Matthew Stephens (Florida Bar No. 0688649)
                                        Robert G. Methvin, Jr. (to file for admission pro hac vice)
                                        James M. Terrell (to file for admission pro hac vice)
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   DEFENDANTS TO BE SERVED BY PERSONAL PROCESS SERVER AT:

   Permanent General Assurance Corp.
   c/o Chief Financial Officer
   200 E. Gaines ST
   Tallahassee, FL 32399-0000

   Nation Safe Drivers Services, Inc.
   c/o NRAI Services, Inc.
   1200 South Pine Island Road
   Plantation, FL 33324




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